      Case 1-18-40765-ess         Doc 72    Filed 03/15/18     Entered 03/16/18 10:43:34




UNITED STATES BANKRUPTCY COURT
EASTERN DISTRICT OF NEW YORK

 In re:                                               Chapter 11

 East Coast TVs Inc., et al.,                         Case No. 18-40765 (ESS)

                                Debtors.              (Jointly Administered)

                    STIPULATION AND AGREED ORDER BETWEEN
                 DEBTORS AND AM TRANSPORTATION LOGISTICS INC.

          WHEREAS, the Debtors commenced the above-captioned cases on February 9, 2018;

          WHEREAS, AM Transportation Logistics Inc. (“AM Carrier”) was the primary carrier

utilized by the Debtors to deliver merchandise to customers;

          WHEREAS, the Debtors and AM Carrier agree that AM Carrier has a valid prepetition

claim in the amount of $52,000 (“AM Claim”) and a possessory lien on merchandise that it was

delivering to customers on behalf of the Debtors or returning to the Debtors as of the petition date

(“Merchandise”), comprised principally of televisions;

          WHEREAS, on February 16, 2018, this Court entered an order, inter alia, authorizing the

Debtors to pay up to $7,500 towards satisfaction of the AM Claim;

          WHEREAS, the Debtors subsequently moved for an order, inter alia, directing turnover of

the Merchandise, and AM Carrier has cross-moved for adequate protection (the “Motions”);

          WHEREAS, to resolve the pending motions and the AM Claim,

                (a)    the Debtors have agreed to relinquish, and AM Carrier has agreed to accept,
thirty-nine televisions included among the Merchandise that have an agreed wholesale cost of
$65,700 and which are identified on the annexed Schedule A (“Retained Merchandise”), with the
understanding and expectation that AM Carrier may sell the Retained Merchandise at
approximately 80% of their total wholesale value; and

                (b)   AM Carrier has agreed to return the balance of the Merchandise presently
in its possession which are identified on the annexed Schedule B (“Return Merchandise”) to the
Debtors without further cost to the Debtors.
      Case 1-18-40765-ess        Doc 72       Filed 03/15/18   Entered 03/16/18 10:43:34




       WHEREAS, the Debtors contend that it needs to have the Return Goods Merchandise

timely returned to them in order for them to further conduct its business in the ordinary course,

and that the Debtors are in a very perilous state with its customers, and that with Given the timely

receipt of the Return Goods Merchandise the Debtor expects that it will be able to sell the goods

to its current customers or to new ones.

       NOW THEREFORE, the parties hereby agree, subject to this Stipulation and Agreed Order

being so ordered by this Court, as follows:

       1.      The Debtors hereby agree to relinquish, and AM Carrier hereby agrees to accept,

the Retained Merchandise, in full and final satisfaction of the AM Claim. The Debtors shall have

no entitlement to any portion of the sale proceeds realized by AM Carrier from the sale of the

Retained Merchandise.

       2.      AM Carrier shall promptly deliver the Return Merchandise to the Debtors without

further cost to the Debtors. AM Carrier shall to deliver no less than one-half of the Return

Merchandise within twenty-one days from the date this Stipulation and Agreed Order is so ordered

and all of the Return Merchandise within three months from the date this Stipulation and Agreed

Order is so ordered.

       3.      The parties shall withdraw their respective Motions.
     Case 1-18-40765-ess       Doc 72    Filed 03/15/18   Entered 03/16/18 10:43:34




Agreed to this 8th day of March, 2018.

 OLSHAN FROME & WOLOSKY LLP                    GULKOSCHWED LLP

 /s/ Michael S. Fox                            /s/ Steven Gitelis
 Michael S. Fox                                Steven Gitelis
 1325 Avenue of the Americas                   44 Wall Street, 2nd Floor
 New York, New York 10019                      New York, New York 10005
 (212) 451-2300                                (212) 500-1312

 Counsel for the Debtors                       Counsel for AM Transportation Logistics Inc.


It is SO ORDERED.




                                                           ____________________________
 Dated: Brooklyn, New York                                        Elizabeth S. Stong
        March 15, 2018                                     United States Bankruptcy Judge
    Case 1-18-40765-ess   Doc 72      Filed 03/15/18   Entered 03/16/18 10:43:34




                             SCHEDULE A
                        RETAINED MERCHANDISE

Order        Model            Hub      Wholesale
JA534814     63004001         CA       $1,375
JA531784     75X940E          CA       $3,050
JA535633     7170001          FL       $1,275
EC112788     7470001          FL       $1,475
JA533881     65Q9FAM          GA       $2,100
JA534802     75SJ8570         GA       $1,650
JA535936     55C7P            IA       $1,275
JA535984     7170001          NC       $1,275
JA534833     7170001          NCA      $1,275
JA535959     75X940E          NCA      $3,050
JA528983R    75SJ8570         CA       $1,650
JA534388R    75SJ8570         CA       $1,650
JA535941     OLED55C7PUS      CA       $1,275
JA528775R    QN75Q7FAM        CA       $2,875
JA527848R    QN75Q7FAMF       CA       $2,875
JA533910R    UN65MU8500       CA       $1,150
JA533097     UN75MU6300FXZA   CA       $1,600
EC112814R    XBR75X940E       CA       $3,050
JA533316R    82MU8000         CA       $2,900
JA535557R    65Q9FAM          IA       $2,100
JA531544R    UN75MU8000       IA       $2,100
JA533746BR   XBR85X850D       NCA      $3,500
EC112393R    XBR75X900E       OH       $2,450
JA536001     OLED55C7PUS      OH       $1,275
JA534934R    QN75Q8C          OH       $3,125
EC112016R    PRO665RSIBPSS    OOA      $2,000
JA532469     65MU9000         OOACO    $1,325
JA532469     75MU9000         OOACO    $2,325
ja529037r    55B7BA           TX       $1,175
JA534634     75X940E          TX       $3,050
JA533451R    OLED55B7P        TX       $1,175
JA529800R    OLED55B7A        TX       $1,175
JA526780R    QN65Q9F          CA       $2,100
    Case 1-18-40765-ess    Doc 72   Filed 03/15/18   Entered 03/16/18 10:43:34




                                  SCHEDULE B
                           RETURN MERCHANDISE
Order        Model          Hub     Wholesale
JA535580     65LS003        CA      $2,050
JA536182     65LS003        CA      $2,050
JA535878     86SJ9570       CA      $3,500
JA535055     65C7P          CO      $1,800
JA535182     65LS003        FL      $2,050
JA534802     47UJ6300       GA      $375
JA535916     55B7           GA      $1,175
JA535241     65C7P          GA      $1,800
JA535793     65C7P          GA      $1,800
JA529999     65MU8000       GA      $1,100
JA536073     75UJ6470       GA      $1,450
JA528390     65C7P          IA      $1,800
JA535854     65C7P          IA      $1,800
JA535133     65MU8000       IA      $1,100
JA536241     75UJ6470       IA      $1,450
JA531184     82MU8000       IA      $2,900
JA535566     82MU8000       IA      $2,900
JA528129B    75X900E        NC      $2,450
JA531391     67004001       NCA     $1,100
JA535126     55C7P          NCA     $1,275
JA535392     55E7P          NCA     $1,475
JA535073     75UJ6470       NCA     $1,450
JA535158     75X850E        NCA     $1,850
JA536131     OLED65C7PUS    NJ      $1,800
JA533915     65SJ8500       OH      $1,000
JA534819     82MU8000       OH      $2,900
JA530903     82MU8000       TX      $2,900
JA535509     82MU8000       TX      $2,900
JA529259     86SJ9570       TX      $3,500
JA522127R1   UN75J6300      FL      $1,500
JA531980R    XBR75X940E     FL      $3,050
JA535423R    OLED65C7PUS    GA      $1,800
JA535629R    QN75Q7FAM      GA      $2,875
JA528388R    ZCVRB3622N     NCA     $1,000
JA534159R    7270001        TX      $1,375
JA535900     65MU8000       TX      $1,100
    Case 1-18-40765-ess   Doc 72   Filed 03/15/18   Entered 03/16/18 10:43:34




EC112639    65X900E       TX       $1,400
JA535582R   75UJ6470      TX       $1,450
JA534055    QN65Q7        TX       $1,850
JA524329R   UN55MU7100    TX       $700
JA532735    55LS003       CA       $1,500
JA535563    7170001       NCA      $1,275
JA535824    7170001       NCA      $1,275
JA533252    65LS003       FL       $2,050
JA530797R   UN65LS003     IA       $2,050
JA534634    65LS003       TX       $2,050
